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     Encino, California 91436-2746
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     Facsimile: (818) 788-9408
 4   Email: kessellaw@sbcglobal.net
 5
     Attorney for Defendant
 6   NAM PHAMTRAN
 7
 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       ) CASE NO.: 2:05-CR-542-GEB
                                                     )
12                          Plaintiff,               ) STIPULATION AND [PROPOSED]
                                                     ) ORDER TO CONTINUE
13   vs.                                             )
                                                     )
14   THO LE, et. al.,                                )
                                                     )
15                          Defendants.              )
                                                     )
16
17            It is hereby stipulated and agreed to between the United States of America through Matthew
18   C. Stegman, Assistant United States Attorney; defendant, NAM PHAMTRAN, by and through his
19   counsel, Alex R. Kessel, defendant, TRI HUU BUI, by and through his counsel Scott L. Tedmon;
20   defendant, MICHELLE CHAUN GOC LE, by and through her counsel, Mark Bledstein; defendant
21   THANG QUOC BUI, by and through his counsel, Tim Warriner; and TUNG THANH HUYNH, by
22   and through his counsel, Matthew C. Bockman, Assistant Federal Defender, that the motions hearing
23   date currently set for March 13, 2009 at 9:00am, be continued to April 17, 2009 at 9:00am.
24            Counsel requires additional time to continue possible plea negotiations with the government.
25            Counsel for Defendant Nam Pham Tran is engaged in trial in the matter of U.S.A. vs. Vo
26   Duong Tran, case number CR08-197-AG, in the United States District Court, Central District of
27   California in Santa Ana before the Honorable Andrew J. Guilford. This is a two defendant
28   conspiracy case wherein the defendants are in custody. This matter involves an out of state attorney


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 1   and witnesses who have arranged their schedules to be present for this matter.
 2          Counsel for Defendant Michelle Le is engaged in trial in the matter of People vs. Espino,
 3   case number BA341832 in Department 121 of the Los Angeles County Superior Court, Central
 4   District in Los Angeles. Trial is expected to finish March 13, 2009.
 5          IT IS FURTHER STIPULATED that the period from March 13, 2009(the date currently set
 6   for the motions hearing) through and including April 17, 2009, be excluded in computing the time
 7   within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C.
 8   §3161(h)(8)(B)(iv) and Local Code T4 for continuity and preparation of counsel and 18 U.S.C.
 9   §§3161(h)(8)(B)(ii) and Local Code T2 for complexity.
10
11   Dated: March 10, 2009                        Respectfully submitted,
12
13                                                /s/ Alex R. Kessel
                                                  _______________________
14                                                ALEX R. KESSEL
                                                  Attorney for Defendant
15                                                NAM PHAMTRAN
16
17                                                /s/ Alex R. Kessel for
                                                  ________________________
18                                                SCOTT L. TEDMON
                                                  Attorney for Defendant
19                                                TRUI HUU BUI
20
                                                  /s/ Alex R. Kessel for
21                                                ________________________
                                                  MARK BLEDSTEIN
22                                                Attorney for Defendant
                                                  MICHELLE CHAUN GOC LE
23
24
                                                  /s/ Alex R. Kessel for
25                                                ________________________
                                                  TIMOTHY WARRINER
26                                                Attorney for Defendant
                                                  THANG QUOC BUI
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 1                                     /s/ Alex R. Kessel for
                                       ________________________
 2                                     MATTHEW BOCKMON
                                       Attorney for Defendant
 3                                     TUNG THANH HUYNH
 4
 5
 6   Dated: March 11, 2009             MCGREGOR W. SCOTT
                                       United States Attorney
 7
                                       /s/ Alex R. Kessel for
 8                                     ________________________
                                       MATTHEW C. STEGMAN
 9                                     Assistant United States Attorney
10
                                        ORDER
11
     IT IS SO ORDERED:
12
13   Dated: March 12, 2009

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15                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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